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		The Supreme Court Clerk's office will be closed on 
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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
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							Recent News &amp; Reports		
					
				10/7/16 – Comment In Response To Proposed Superior Court Rule 6.8
						
					
				9/6/16 – HARRIS HINES TO BECOME NEW CHIEF JUSTICE
						
					
				7/19/16 – HUGH THOMPSON TO STEP DOWN JANUARY 2017
						
				
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